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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     JAIME BARNES,                                        Case No. 2:20-cv-01926-APG-VCF
4                                            Plaintiff                     ORDER
5            v.
6     CHARLES DANIELS, et al.,
7                                       Defendants
8
9    I.     DISCUSSION

10          On October 16, 2020, Plaintiff, an inmate in the custody of the Nevada Department

11   of Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C. § 1983 and

12   filed an application to proceed in forma pauperis for a non-inmate. (ECF Nos. 1-1, 1).

13   Plaintiff’s application to proceed in forma pauperis is incomplete.

14          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin

15   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil

16   action without prepaying the full $400 filing fee. To apply for in forma pauperis status, the

17   inmate must submit all three of the following documents to the Court:

18          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this

19          Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures on

20          page 3),

21          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

22          official (i.e. page 4 of this Court’s approved form), and

23          (3) a copy of the inmate’s prison or jail trust fund account statement for the

24   previous six-month period.

25          Plaintiff has not submitted an application to proceed in forma pauperis for an

26   inmate. Accordingly, the Court denies Plaintiff’s application to proceed in forma pauperis

27   (ECF No. 1) without prejudice because the application is incomplete. The Court will grant

28   Plaintiff a one-time extension to file a fully complete application to proceed in forma
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1    pauperis containing all three of the required documents. Plaintiff will file a fully complete
2    application to proceed in forma pauperis on or before December 21, 2020. Absent
3    unusual circumstances, the Court will not grant any further extensions of time. If Plaintiff
4    does not file a fully complete application to proceed in forma pauperis with all three
5    required documents on or before December 21, 2020, this case will be subject to
6    dismissal without prejudice for Plaintiff to file a new case with the Court when Plaintiff is
7    able to acquire all three of the documents needed to file a fully complete application to
8    proceed in forma pauperis or pays the full $400 filing fee.
9           A dismissal without prejudice means Plaintiff does not give up the right to refile the
10   case with the Court, under a new case number, when Plaintiff has all three documents
11   needed to submit with the application to proceed in forma pauperis. Alternatively, Plaintiff
12   may choose not to file an application to proceed in forma pauperis and instead pay the
13   full filing fee of $400 on or before December 21, 2020 to proceed with this case.
14          The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1), but the Court
15   will not file the complaint unless and until Plaintiff timely files a fully complete application
16   to proceed in forma pauperis with all three documents or pays the full $400 filing fee.
17   II.    CONCLUSION
18          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed
19   in forma pauperis (ECF No. 1) is denied without prejudice to file a new fully complete
20   application to proceed in forma pauperis with all three documents.
21          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the
22   approved form application to proceed in forma pauperis by an inmate, as well as the
23   document entitled information and instructions for filing an in forma pauperis application.
24          IT IS FURTHER ORDERED that on or before December 21, 2020, Plaintiff will
25   either pay the full $400 filing fee for a civil action (which includes the $350 filing fee and
26   the $50 administrative fee) or file with the Court:
27          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this
28          Court’s approved form (i.e. pages 1 through 3 of the form with the inmate’s two



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1           signatures on page 3),
2           (2) a Financial Certificate properly signed by both the inmate and a prison or jail
3           official (i.e. page 4 of this Court’s approved form), and
4           (3) a copy of the inmate’s prison or jail trust fund account statement for the
5    previous six-month period.
6           IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete
7    application to proceed in forma pauperis with all three documents or pay the full $400
8    filing fee for a civil action on or before December 21, 2020, this case will be subject to
9    dismissal without prejudice for Plaintiff to refile the case with the Court, under a new case
10   number, when Plaintiff has all three documents needed to file a complete application to
11   proceed in forma pauperis or pays the the full $400 filing fee.
12          IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
13   (ECF No.1-1) but will not file it at this time.
                      10-20-2020
14         DATED: __________________
15
16                                                UNITED STATES MAGISTRATE JUDGE
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